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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                                      CASE No.:
MICHAEL R. MCNEIL,

       Plaintiff,
vs.

600 6TH STREET, LLC, and PRATIM, LLC,
d/b/a OLD CROSS ROAD GROCERY

      Defendants.
___________________________________________/

                                          COMPLAINT


       Plaintiff, MICHAEL R. MCNEIL (hereinafter the “Plaintiff”), through undersigned

counsel, hereby files this Complaint and sues 600 6TH STREET, LLC, a Florida Limited

Liability Company, and PRATIM, LLC, a Florida Limited Liability Company, d/b/a OLD

CROSS ROAD GROCERY (hereinafter, collectively the “Defendants”), for injunctive relief,

attorney’s fees and costs (including, but not limited to, court costs and expert fees), pursuant to

42 U.S.C. §12181, et. seq., (“AMERICANS WITH DISABILITIES ACT” or “ADA”) and

alleges:

                                JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred to as the

“ADA”). This Court is vested with jurisdiction under 28 U.S.C. §1331 and §343.

       2.      Venue is proper in this Court, Middle District pursuant to 28 U.S.C. §1391(B) in

that all events giving rise to this lawsuit occurred in Volusia County, Florida.



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        3.      At the time of Plaintiff’s visit to Defendants’ Subject Facilities, prior to instituting

the instant action, MICHAEL R. MCNEIL (hereinafter referred to as “MCNEIL”), was a

resident of the State of Florida, suffered from what constitutes a “qualified disability” under the

Americans with Disabilities Act of 1990, and used a wheelchair for mobility. Plaintiff has

traumatic brain injury (TBI). He is required to traverse in a wheelchair, and is substantially

limited to performing one or more major life activities including, but not limited to, walking,

standing, grabbing, grasping, and/or pinching.

        4.      The Plaintiff personally visited, in or about July 18, 2019 Defendants’ Subject

Facilities, but was denied full and equal access to, and full and equal enjoyment of, the facilities

services, goods, privileges and accommodations offered within Defendants’ Subject Facilities,

which is the subject of this lawsuit, even though he would be classified as a “bona fide patron”,

because of his disabilities. Plaintiff lives in Volusia County, Florida, in close proximity to

Defendants, (within 5.9 miles) and travels in the surrounding areas near Defendants’ Subject

Facilities on a regular basis.

        5.      The Defendants, 600 6TH STREET, LLC, a Florida Limited Liability Company,

and PRATIM, LLC, a Florida Limited Liability Company, d/b/a OLD CROSS ROAD

GROCERY are authorized to conduct, and are conducting business within the State of Florida.

        6.      Upon information and belief, PRATIM, LLC, a Florida Limited Liability

Company, is the lessee and/or operator of the real property (the “Subject Facility”), and the

owner of the improvements where the Subject Facility is located which is the subject of this

action, the establishment commonly referred to as OLD CROSS ROAD GROCERY #located at

600 6th Street, in Holly Hill, Florida.




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       7.      Upon information and belief, 600 6TH STREET, LLC, is the lessor, operator

and/or owner of the real property (the “Subject Facility”), and the owner of the improvements

where the Subject Facilities are located which are the subjects of this action.

       8.      All events giving rise to this lawsuit occurred in the State of Florida. Venue is

proper in this Court as the premises are located in Volusia County in the Middle District,

Orlando Division.

         COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       9.      On or about July 26, 1990, Congress enacted the Americans with Disabilities Act

(“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were provided one and a half years

from enactment of the statute to implement its requirements. The effective date of the Title III of

the ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508(a).



       10.     Congress found, among other things, that:

               (i)     some 43,000,000 Americans have one or more physical or mental
                       disabilities, and this number shall increase as the population
                       continues to grow older;

               (ii)    historically, society has tended to isolate and segregate individuals
                       with disabilities, and, despite some improvements, such forms of
                       discrimination against disabled individuals continue to be a
                       pervasive social problem, requiring serious attention;

               (iii)   discrimination against disabled individuals persists in such critical
                       areas as employment, housing, public accommodations,
                       transportation, communication, recreation, institutionalization,
                       health services, voting and access to public services and public
                       facilities;

               (iv)    individuals with disabilities continually suffer forms of
                       discrimination, including outright intentional exclusion, the
                       discriminatory effects of architectural, transportation, and
                       communication barriers, failure to make modifications to existing
                       facilities and practices. Exclusionary qualification standards and

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                         criteria, segregation, and regulation to lesser services, programs,
                         benefits, or other opportunities; and,

                 (v)     the continuing existence of unfair and unnecessary discrimination
                         and prejudice denies people with disabilities the opportunity to
                         compete on an equal basis and to pursue those opportunities for
                         which our country is justifiably famous, and costs the United
                         States billions of dollars in unnecessary expenses resulting from
                         dependency and non-productivity.

          42 U.S.C. §12101(a)(1)-(3), (5) and (9).

          11.    Congress explicitly stated that the purpose of the ADA was to:

                 (i)     provide a clear and comprehensive national mandate for the
                         elimination of discrimination against individuals with disabilities;
                 (ii)    provide clear, strong, consistent, enforceable standards addressing
                         discrimination against individuals with disabilities; and,

                 (iii)   invoke the sweep of congressional authority, including the power
                         to enforce the fourteenth amendment and to regulate commerce, in
                         order to address the major areas of discrimination faced day-to-day
                         by people with disabilities.

          42 U.S.C. §12101(b)(1)(2), and (4).

          12.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants are places of

public accommodation in that they are establishments which provide goods and services to the

public.

          13.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building and/or

Subject Facility which is the subject of this action is a public accommodation covered by the

ADA and which must be in compliance therewith.

          14.    The Plaintiff is informed and believes, and therefore alleges, that the Subject

Facility has begun operations and/or undergone remodeling, repairs and/or alterations since

January 26, 1990.




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       15.     Defendants have discriminated, and continue to discriminate, against the Plaintiff,

and others who are similarly situated, by denying full and equal access to, and full and equal

enjoyment of, goods, services, facilities, privileges, advantages and/or accommodations at

Defendants’ Subject Facilities in derogation of 42 U.S.C. §12101, et. seq., and as prohibited by

42 U.S.C. §12182 et. seq., and by failing to remove architectural barriers pursuant to 42 U.S.C.

§12182(b)(2)(a)(iv), where such removal is readily achievable.

       16.     The Plaintiff has been unable to, and continues to be unable to, enjoy full and

equal safe access to, and the benefits of, all accommodations and services offered at Defendants’

Subject Facilities. Prior to the filing of this lawsuit, the Plaintiff visited the subject properties

and was denied full and safe access to all the benefits, accommodations and services of the

Defendants. Prior to the filing of this lawsuit, MCNEIL, personally visited 600 6TH STREET,

LLC, and PRATIM, LLC, d/b/a OLD CROSS ROAD GROCERY with the intention of using

Defendants’ facilities, but was denied full and safe access to the facilities, and therefore suffered

an injury in fact. As stated herein, the Plaintiff has visited the Subject Facilities in the past, prior

to the filing of this lawsuit, resides near said Subject Facility, and Plaintiff intends to return to

the Subject Facility and Property within six months, or sooner, upon the Subject Facility being

made accessible. As such, Plaintiff is likely to be subjected to continuing discrimination at the

Subject Facility unless it is made readily accessible to and usable by individuals with disabilities

to the extent required under the ADA, including the removal of the architectural barrier which

remain at the Subject Facility.

       17.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal Regulations to

implement the requirements of the ADA, known as the Americans with Disabilities Act



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Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which said

Department may obtain civil penalties of up to $110,000 for the first violation and $150,000 for

any subsequent violation.

       18.      The Defendants’ Subject Facilities are in violation of 42 U.S.C. §12182 et. seq.,

the ADA and 28 C.F.R. §36.302 et. seq., and is discriminating against the Plaintiff, as a result of

interalia, the following specific violations:

       VIOLATIONS

             a) Failure to provide ADA compliant accessible parking spaces and access aisle on a

                firm, stable, slip resistant surface, in violation of 2014 FAC and 2010 ADAS

                Section 502.4 and 302.1.

             b) Failure to provide ADA compliant accessible parking stalls, in violation of 2014

                FAC and 2010 ADAS Section 208.2.

             c) Failure to provide ADA compliant parking stall striping, in violation of 2014 FAC

                and 2010 ADAS Section 502.3.3.

             d) Failure to provide ADA compliant access aisle striping, in violation of 2014 FAC

                and 2010 ADAS Section 502.3.3.

             e) Failure to provide ADA compliant access aisle, in violation of 2014 FAC and

                2010 ADAS Section 502.2.

             f) Failure to provide ADA compliant access aisle striping and markings, in violation

                of 2014 FAC and 2010 ADAS Section 502.3.3.

             g) Failure to provide ADA compliant parking stall signage, in violation of 2014 FAC

                Section 502.6.




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       h) Failure to provide ADA compliant accessible route leading to building entrance,

          in violation of 2014 FAC and 2010 ADAS Section 302.1.

       i) Failure to provide ADA compliant accessible route with compliant slope grading,

          in violation of 2014 FAC and 2010 ADAS Section 403.3.

       j) Failure to provide ADA compliant accessible route that does not provide abrupt

          changes in elevation greater than ¼ inch, in violation of 2014 FAC and 2010

          ADAS Section 303.2 and 303.3.

       k) Failure to provide ADA compliant entrance door hardware, in violation of 2014

          FAC and 2010 ADAS Section 309.4.

       l) Failure to provide ADA compliant entrance door mat, in violation of 2014 FAC

          and 2010 ADAS Section 302.2.

       m) Failure to provide ADA compliant counter height, in violation of 2014 FAC and

          2010 ADAS Section 904.4.1.

       n) Failure to provide ADA compliant clear floor space throughout the subject

          facility, in violation of 2014 FAC and 2010 ADAS Section 403.5.1.

       o) Failure to provide ADA compliant merchandise reach range, throughout the

          subject facility, in violation of 2014 FAC and 2010 ADAS Section 308.1.

       p) Failure to provide ADA compliant directional signage to accessible restroom, in

          violation of 2014 FAC and 2010 ADAS Section 216.8.

       q) Failure to provide ADA compliant restroom door hardware, in violation of 2014

          FAC and 2010 ADAS Section 309.4.

       r) Failure to provide ADA compliant lavatory hardware, in violation of 2014 FAC

          and 2010 ADAS Section 308.1.



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              s) Failure to provide ADA compliant insulated pipes, in violation of 2014 FAC and

                 2010 ADAS Section 606.5.

              t) Failure to provide ADA compliant mirror, in violation of 2014 FAC and 2010

                 ADAS Section 603.3.

              u) Failure to provide ADA compliant toilet seat to wall location, in violation of 2014

                 FAC and 2010 ADAS Section 604.2.

              v) Failure to provide ADA compliant flushing mechanism, in violation of 2014 FAC

                 and 2010 ADAS Section 604.6.

              w) Failure to provide ADA compliant side grab bar, in violation of 2014 FAC and

                 2010 ADAS Section 609.4.

              x) Failure to provide ADA compliant rear grab bar, in violation of 2014 FAC and

                 2010 ADAS Section 609.4.

              y) Failure to provide ADA compliant toilet paper location, in violation of 2014 FAC

                 and 2010 ADAS Section 604.7.

              z) Failure to provide ADA compliant unobstructed, restroom maneuverability

                 clearances, in violation of 2014 FAC and 2010 ADAS Section 304.3.1 and

                 304.3.2.

        19.      Upon information and belief, there are other current violations of the ADA at

Defendants’ Properties, and only once a full inspection is done can all said violations be

identified.

        20.      To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA. The barriers to access at the Subject Facilities, as described above, have



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severely diminished Plaintiff’s ability to avail himself of the goods and services offered at the

Subject Facilities, and compromise his safety.

       21.     Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304, the

Defendants were required to make the Subject Facility, a place of public accommodation,

accessible to persons with disabilities since January 28, 1992. To date, the Defendants have

failed to comply with this mandate.

       22.     The Plaintiff has been obligated to retain the undersigned counsel for the filing

and prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees,

costs and expenses paid by the Defendants, pursuant to 42 U.S.C. §12205.

       23.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant the

Plaintiff’s injunctive relief; including an order to alter the subject facilities to make them readily

accessible to, and useable by, individuals with disabilities to the extent required by the ADA and

closing the subject facility until the requisite modifications are completed.

       WHEREFORE, the Plaintiff hereby demands judgment against the Defendants and the

Court declare that the subject property and Subject Facilities owned, operated, leased, controlled

and/or administered by the Defendants are violative of the ADA;

       A.      The Court enter an Order requiring the Defendants to alter their facilities and

               amenities to make them accessible to and usable by individuals with disabilities to

               the full extent required by Title III of the ADA;

       B.      The Court enter an Order directing the Defendants to evaluate and neutralize their

               policies, practices and procedures toward persons with disabilities, for such

               reasonable time so as to allow the Defendants to undertake and complete

               corrective procedures to the Subject Facility;



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     C.     The Court award reasonable attorney’s fees, all costs (including, but not limited to

            court costs and expert fees) and other expenses of suit, to the Plaintiff; and

     D.     The Court award such other and further relief as it deems necessary, just and

            proper.



     Dated: This 4th day of February 2020.

                                                   Respectfully submitted,

                                                   By: /S/Joe M. Quick, Esq._________
                                                   Joe M. Quick, Esq.
                                                   Bar Number 0883794
                                                   Attorney for Plaintiff
                                                   Law Offices of Joe M. Quick, Esq.
                                                   1224 S. Peninsula Drive #619
                                                   Daytona Beach, Florida 32118
                                                   Telephone: 386.212.3591
                                                   Email: JMQuickEsq@gmail.com




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